Case 3:23-cv-01842-RBM-MSB Document 1-8 Filed 10/06/23 PageID.80 Page 1 of 1




                        State of Utah
                        DEPARTMENT         OF COMMERCE
                        Division of Corporations & Commercial
                        Code




 Business Name:          WESTERN      GOVERNORS          UNIVERSITY

 Entity number: 9455582-0140
 Date of Filing: 09/29/2023

 PREVIOUS        Registered Principals:                UPDATED         Registered Principals:

  Name ...... CURT DEFRIEZ                               Name ...... Nadeem Syed
  Position .. Treasurer                                  Position .. Director
  Address    .. 4001 SOUTH 700 EAST, SUITE 700           Address...   4001 South 700 East, Suite 700
                SALT LAKE CITY, UT 84107                              Salt Lake City, UT 84107 United        States

 PREVIOUS        Registered Principals:                UPDATED         Registered Principals:

  Name    ...... CURT    DEFRIEZ
  Position .. Director
  Address    .. 4001 SOUTH 700 EAST, SUITE 700
                SALT LAKE CITY, UT 84107




                                                                        Joanna Berrett 09/29/2023

Under GRAMA {63-2-201}, all registration information maintained by the Division isc bssified as public
record. For confidentiality purposes, the business entity physical address may be provided rather than the
residential or private address of any individ wal affiliated with the entity.
